4:24-cv-03177-SMB-MDN Doc#64-7_ Filed: 01/31/25 Page1of3- Page ID#1142
Short Message Report

Conversations: 1 Participants: 2
Total Messages: 11 Date Range: 9/30/2024

Outline of Conversations

CJ +18142416038 » 11 messages on 9/30/2024 » <4026415432> « George Wiltrot <8142416038>

Daws0001238

4:24-cv-03177-SMB-MDN Doc#64-7_ Filed: 01/31/25 Page 2of3- Page ID#1143

Messages in chronological order (times are shown in GMT +00:00)

Es

GW

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+18142416038

George Wiltrot <8142416038> & 9/30/2024, 3:56 PM
Hey boss | getting empty in Michigan what should | do

Receipts « <4( 15432> [R:9/30/2024, 3:56 PM]

<4026415432> @ 9/30/2024, 3:57 PM
Call me

Receipts - George Wiltrot <8142416038> [D:9/30/2024, 3:57 PM}

George Wiltrot <81424160338> & 9/30/2024, 4:42 PM

Chuck won't even take my call from cell or office
lf | don’t hear anything | gonna just head east | got times and people | talk wrote down

Receipts * <4026415432> [R:9/30/2024, 4:42 PM]

<4026415432> 9/30/2024, 4:42 PM
K

Receipts « George Wiltrot <8142416038> [D:9/30/2024, 4:42 PM}

George Wiltrot <8142416038> & 9/30/2024, 5:13 PM

File "c3e7ec11-4bb7-499a-baeb-5928b280f4b1.PNG" is missing.
Image: ~_Library_SMS_Attachments_31_01_OE9E6D24-3EEE-453E-8789-0CBA0D021AD1_IMG_5577.PNG (204 KB)

Receipts = <4026415432> [R:9/30/2024, 5:13 PM]

George Wiltrot <8142416038> > 9/30/2024, 5:13 PM
IMG_5577.PNG

https://p25-

content.icloud.com/MY30827CE027E81561713FABC74C7544B3BE28E96B8CB80675001BEA708A80182D.21F788CE
698EE1A9.CO1USNO0

Receipts « <4026415432> [R:9/30/2024, 5:13 PM]

George Wiltrot <8142416038> > 9/30/2024, 5:13 PM
That's all | got

Receipts « <4026415432> [R:9/30/2024, 5:13 PM}

<4026415432>
Thanks

A

9/30/2024, 5:19 PM

Receipts « George Wiltrot <8142416038> [D:9/30/2024, 5:19 PM]

A

<4026415432>
Safe travels

9/30/2024, 5:19 PM

Receipts = Ge

38> [D:9/30/2024, 5:19 PM)

George Wiltrot <8142416038> m 9/30/2024, 5:20 PM
I'll be parked till | hear from you boss

Daws0001239

4:24-cv-03177-SMB-MDN Doc#64-7_ Filed: 01/31/25 Page 3o0f3-PageID#1144

GW

Receipts 9/30/2024, 5:22 PM
>>>>> <4026415432> @ 9/30/2024, 5:22 PM
>>>>t ob

Receipts - Geo Vilt 314 O36 9/30/2024, 5:22 PM

Daws0001240

